Case 2:05-cr-20264-BBD Document 17 Filed 09/02/05 Page 1 of 2 PagelD 15

 

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uNlTED sTATEs oF AMERch tie ge g ;.n,»§;__,h%
P|aintiff
vs.

CR. NO. 05-20264-D
TA|VIN||E MCCANN

Defendant.

 

oRDER oN coNTiNuANcE AND sPEchYiNc PERioD oF ExcLuDABLE DELAY
AND MN_G_

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a

report date of Thurs.dayl October 27, 2005, at 9:00 a.m.. in Courtroom 3, 9th F|oor of
the Federal Bui|ding, Memphis, TN.

 

The period from August 25, 2005 through November 18, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional

time to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED midan day of September, 2005.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CR-20264 Was distributed by faX, mail, or direct printing on
September 9, 2005 to the parties listed.

ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

